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March 06, 2020
VIA ELECTRONIC FILING
Hon.Zahid N. Quraishi, U.S.M.J.
United State District Court of New Jersey- Trenton
Clarkson S. Fisher Building & U.S. Courthouse, 402 East State Street
Trenton, NJ 08608

Re: Susanne LaFrankie-Principato vy. New Jersey Board of Public Utilities, et al.
Docket No. 3:18-cv-02258-FLW-LHG

Dear Judge Quraishi:

As you are aware, this firm represents the Plaintiff in this above indicated matter. This
matter was dismissed subject to a settlement between the parties. Unfortunately, the State has
defaulted on its obligation to make settlement payment to the Plaintiff.

Accordingly, I write to respectfully that the Court schedule a Telephonic Conference to
address the same.
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We thank the Court for its attention to this matter. Ordered this___day

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Respectfully Submitted, 2 Wo { ‘

COSTELLO & MAINS, LLC Hon(Zahid N. Quraishi

 

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By: /s/Daniel T, Silverman “Telephone Satus
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